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                                              U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              P.O. Box 883
                                              Washington, DC 20044



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                                             August 3, 2019


VIA ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

        Re:     State of New York v. U.S. Dep’t of Commerce, No. 18-cv-2921 (JMF)

Dear Judge Furman:

         In accordance with Federal Rule of Civil Procedure 6(b)(1)(B) and paragraphs 1(A), (E) and
3(A) of Your Honor’s Individual Rules and Practices in Civil Cases, Defendants write to request, nunc
pro tunc, a four-hour and 30-minute extension of time to file their Opposition to the NYIC Plaintiffs’
Motion for Sanctions, which was due Friday, August 2, 2019, pursuant to the Court’s order of July 22,
2019, ECF No. 642.

       In support of this motion, counsel for Defendants submit that they expended tremendous
time and effort to comply with the Court’s filing deadline. Regrettably, despite the best efforts of the
undersigned, and the other attorneys assigned to the case, Defendants were unable to finalize their
opposition, including numerous declarations and supporting exhibits, in time to be filed before the
midnight deadline on August 2. Counsel for Defendants regret any inconvenience this may cause the
Court and counsel for Plaintiffs.

         Defendants are mindful of paragraph 1(E) of the Your Honor’s Individual Rules and Practices
in Civil Cases, which provides that, “[a]bsent an emergency, any request for extension or adjournment
shall be made at least 48 hours prior to the deadline or scheduled appearance,” and that “[r]equests for
extensions will ordinarily be denied if made after the expiration of the original deadline.” It did not
become apparent until this evening that Defendants would be unable to meet the midnight filing
deadline, and so it was not possible for Defendants to make this request 48 hours in advance.
Defendants also respectfully submit that the necessity of addressing the numerous allegations raised
in Plaintiffs’ sanctions motion and the time required to do so constitute extraordinary circumstances
warranting leave to file their opposition out of time, especially in light of the brief extension requested.
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         This is the second request for an extension of the deadline to file Defendants’ opposition, the
first having been granted by the Court’s July 22 order. The requested extension will not affect any
other date set by the Court. There are currently no conferences scheduled in these matters.

         Accordingly, Defendants request nunc pro tunc a four-hour and 30-minute extension of time to
file their opposition to the NYIC Plaintiffs’ Motion for Sanctions.



                                                       Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General


                                                       /s/James Gilligan
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                                                       Counsel for Defendants

CC: All Counsel of Record (by ECF)
